       Case 4:22-cv-00325-RH-MAF Document 32 Filed 09/19/22 Page 1 of 3

                                                                        Page 1 of 3


          IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION


AUGUST DEKKER et al.,

              Plaintiffs,
v.                                           CASE NO. 4:22cv325-RH-MAF

SIMONE MARSTILLER et al.,

          Defendants.
_____________________________________/


                             SCHEDULING ORDER


       This order confirms and adds to the schedule announced on the record of the

hearing on September 19, 2022. The plaintiffs have moved for a preliminary

injunction and have submitted declarations and exhibits in support of the motion.

The defendants have acknowledged that the declarations and exhibits are properly

part of the preliminary-injunction record. The plaintiffs have indicated they do not

expect to offer live testimony or additional evidence unless the need arises based

on evidence or arguments first asserted by the defendants in response to the

motion.

       IT IS ORDERED:




Case No. 4:22cv325-RH-MAF
       Case 4:22-cv-00325-RH-MAF Document 32 Filed 09/19/22 Page 2 of 3

                                                                            Page 2 of 3


       1. A hearing on the preliminary-injunction motion is set for October 12,

2022, at 9:30 a.m.

       2. The defendants must file by October 3, 2022, a memorandum in response

to the preliminary-injunction motion and all written evidence, including

declarations and exhibits, the defendants will offer in opposition to the motion.

       3. The defendants must file by October 3, 2022, a notice stating whether they

expect to offer live testimony at the hearing, and if so, identifying each witness and

providing a brief description of the expected testimony.

       4. The plaintiffs may file by 5:00 p.m. on October 7, 2022, a reply

memorandum and any rebuttal evidence.

       5. If, based on the defendants’ filings, the plaintiffs expect to offer live

testimony, they must file by 5:00 p.m. on October 7, 2022, a notice identifying

each witness and providing a brief description of the expected testimony.

       6. A witness will be allowed to testify by live transmission from a remote

location if (a) both sides agree that the witness may so testify or (b) the court so

orders on a motion filed by October 3 (for the defendants) or by 5:00 p.m. on

October 7 (for the plaintiffs).

       7. The deadline for the defendants to respond to the complaint is 14 days

after a ruling on the preliminary-injunction motion.




Case No. 4:22cv325-RH-MAF
       Case 4:22-cv-00325-RH-MAF Document 32 Filed 09/19/22 Page 3 of 3

                                                                        Page 3 of 3


       8. The defendants must immediately provide the plaintiffs’ attorneys a copy

of any record of any plaintiff accessed by the defendants or their attorneys in

connection with this case.

       9. Documents with confidential medical information may be filed under seal

without further order. But if a legal memorandum is so filed, a properly redacted

copy must be filed in the public docket.

       SO ORDERED on September 19, 2022.

                                       s/Robert L. Hinkle
                                       United States District Judge




Case No. 4:22cv325-RH-MAF
